                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION
______________________________________________________________________________

 RANDALL DELANEY,

                       Plaintiff,

        v.                                                  Civil Action No. 2:20-cv-01519

 DAVID BETH, KENOSHA COUNTY, JOHN
 DOES ONE THROUGH FIVE, JOHN DOES
 SIX THROUGH TEN, DANIEL MISKINIS,
 CITY OF KENOSHA, JOHN DOES ELEVEN
 THROUGH FIFTEEN, JOHN DOES SIXTEEN
 THROUGH TWENTY,

                   Defendants.
______________________________________________________________________________

        STIPULATION TO REOPEN CASE AND VACATE COSTS TAXED
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       IT IS HEREBY STIPULATED by and between the parties that the case be reopened and

the Costs Taxed (Dkt. 70 and 71) be vacated and that the Court may subsequently dismiss the

above-captioned matter, on its merits, with prejudice, and without costs to any party and ending

any further proceedings.

Dated: June 6, 2023                                GINGRAS, THOMSEN & WACHS, LLP
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             Case 2:20-cv-01519-LA Filed 06/07/23 Page 1 of 2 Document 72
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Dated: June 6, 2023                        CRIVELLO CARLSON, S.C.
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Dated: June 6, 2023                        ALIA, DUMEZ & MCTERNAN, S.C.
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                                       2

          Case 2:20-cv-01519-LA Filed 06/07/23 Page 2 of 2 Document 72
